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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                           Criminal No. 14-mj-1024(01) (MJD)

UNITED STATES OF AMERICA,               )
                                        )
                    Plaintiff,          )     GOVERNMENT’S RESPONSE TO
                                        )     DEFENDANT’S MOTION TO
      v.                                )     RELEASE FROM CUSTODY AND
                                        )     REVIEW DETENTION ORDER
ABDULLAHI YUSUF,                        )
                                        )
                    Defendant.          )


      The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Andrew R. Winter, Assistant

United States Attorney, submits this response to Defendant’s motion to release from

custody and review detention order (See Docket 41).

      The government has reviewed Defendant’s Motion For Release (Docket 41) and

his memorandum in support of this motion (Docket 42). The government persists in its

request for detention of the defendant as the facts and circumstances underlying the

government’s request for detention remain unchanged.


Dated: January 15, 2015                       Respectfully Submitted,

                                              ANDREW M. LUGER
                                              United States Attorney

                                              s/ Andrew R. Winter

                                              BY: ANDREW R. WINTER
                                              Assistant U.S. Attorney
                                              Attorney ID No. 232531
